                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                   )
LAURA JEAN KILPATRICK,                             )
         Plaintiff,                                )
                                                   )       Civil Action No.
                 v.                                )       19-11657-IT
                                                   )
ANDREW M. SAUL,                                    )
         Defendant.                                )
                                                   )
                                                   )

                                              ORDER

TALWANI, D.J.

         On August 6, 2019, Laura Jean Kilpatrick filed a Complaint [#1] accompanied by an

Application to Proceed in District Court without Prepaying Fees or Costs [#2]. On August 19,

2019, the court denied without prejudice Kilpatrick’s application. See Order on Application to

Proceed in District Court without Prepaying Fees or Costs [#5]. The Order directed Kilpatrick to

either pay the filing fee or file a renewed application. Id.

         To date, Kilpatrick has not responded to the Order and the time to do so has expired. It is

a long-established principle that this court has the authority to dismiss an action sua sponte for a

party’s failure to prosecute her action and her failure to follow the court's Orders. Fed. R. Civ. P.

41(b).

         Accordingly, for the failure to comply with the August 19, 2019 Order, this action is

hereby DISMISSED WITHOUT PREJUDICE.

So ordered.
                                                        /s/ Indira Talwani
                                                       Indira Talwani
                                                       United States District Judge

Dated: September 19, 2019
